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                                                                             RECEIVED
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                    2   P.O. Box 2441
                        Bethel, Alaska    99559                         CLERK, U.S. DISTRICT COURT
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                    5   Attorney for Plaintiffs

                    6                       UNITED STATES DISTRICT COURT

                    7                        FOR THE DISTRICT OF ALASKA

                    8
                        ANDREA AYULUK, ERIC
                    9   AYULUK, AND AS PARENTS AND
                        NEXT FRIEND OF A.A., A MINOR
                   10   CHILD,
                   11
                                   PlaintiffS,
                   12
                             vs.                                Case no. A 10 - - - -Civil
                   13
                        UNITED STATES OF AMERICA,
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z                                        Defendant.
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C        O)~
~   :g~~	          16                                  COMPLAINT
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>C'lCll    ~                 COMES NOW Plaintiffs, and their cause of action against
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00_- .. e.              the United States of America states as follows:
en a.: Q) Q) ' .
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~      Q) .c: u:
u.       !XlQ..                                       I. Jurisdiction
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...J
                             1.    At all times relevant hereto, the Plaintiffs Eric
                   21
                        Ayuluk and Andrea Ayuluk were residents of Chevak, Alaska.
                   22
                        They are the parents of A.A., a minor child.
                   23

                   24        2.    This cause of action arises under the Federal Tort

                   25   Claims Act 28 U.S.C. sec. 1346, 2401, and 2671 et seq.




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                        1         3.   At all times relevant hereto, the Yukon Kuskokwim

                        2   Heath Center, and its heath care employees were agents of the
                        3
                            United states of America.
                        4
                                  4.   E?ch of the employees and entities named above were
                        5
                            acting within the scope of their employment and/or agency at
                        6
                            the time of the events described herein.
                        7
                                  5.   More than six months ago, the claims set forth
                        8
                            herein were presented to the United Stated Department of
                        9
                            Health and Human Services, Public Health Services.             Since the
                       10

                       11   agency has failed to make a final disposition of the claims

                       12   within that time period, plaintiffs deems such failure to be a

                       13   denial of their claims pursuant to 28 U.S.C. sec 2675.

                       14         6.   Based on paragraphs 1-6 above, this court has
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w                           jurisdiction over the claims asserted herein.
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>NIll            ;,;
«>o:.lC"                          7.   On or about February 23, 2009, A.A. was medically
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oC/) 0a.: _~"   e,
          GI GI "           transported from Chevak, Alaska to Bethel, Alaska to be
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               treated at the Yukon Kuskokwim Health Center.           A.A. was "very
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                            sick," had a high fever, was "unresponsive", "floppy" and had

                       22   involuntary flexion of knees with lifting of head.             Even

                       23   though meningitis was is mentioned in the records, no lumbar

                       24   puncture was initially done to confirm the diagnosis.             The

                       25   initial blood results were cultured and lost.           A.A. later




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                            1   developed seizures, had two inadvertent extubations and
                            2   desatuations, was diagnosed with meningitis, and was
                            3
                                transferred to the Alaska Native Medical Center for further
                            4
                                treatment.
                            5
                                     8.      A.A. has suffered hearing loss and brain damage, and
                            6
                                has long term health problems.
                            7
                                                     III. Allegation of Negligence
                            8
                                     9.      Plaintiff incorporates the allegations set forth in
                            9

                           10   Paragraph 1-8.

                           11        10.     Agents and/or employees of the Yukon Kuskokwim Heath

                           12   Corporation have failed to exercise the degree of care

                           13   ordinarily exercised under the circumstances by health care
                           14   providers in their field or specialty by failing to properly
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a::                        15
w                               diagnose and treat A.A.'s meningitis.
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                                     11.     As a direct and proximate cause of the negligent
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                                care and conduct of employees and/or agents of the Yukon
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f/)    a.:O_~ .. """
           Ql   Ql '.           Kuskokwim Health Corporation, A.A. sustained personal injury
w         'S8~             19
U          Ql   J:   u.:
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          ala.                  and losses including, but not limited to the following:
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~                          21
                                     A.      Past and future pain and suffering.

                           22        B.      Past and future medical expenses.

                           23        C.      Past and future lost earning capacity.

                           24        D.      Any other relief courts deems just and proper.

                           25




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                    1        12. Plaintiffs re-allege and incorporates herein, as

                    2   though they were set out in full, all allegations of the
                    3
                        preceding paragraphs of the complaint and further allege that
                    4
                        Andrea Ayuluk and Eric Ayuluk, as the parents of A.A. suffered
                    5
                        damages which include the negligent infliction of emotional
                    6
                        distress, pain and suffering, severe distress, as well as loss
                    7
                        of consortium, loss of enjoyment of life and other non-
                    8
                        economic losses.
                    9

                   10
                             Wherefore, Plaintiffs prays for relief as this Court

                   11        deems just

                   12        DATED this                  June, 2010, at Bethel, Alaska.

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                   14                                     LAW OF            DAVID HENDERSON
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